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              21-1365
                   United States Court of Appeals
                         FOR THE SECOND CIRCUIT
                            __________________

Selina Soule, a minor, by Bianca Stanescu, her mother, Chelsea
Mitchell, a minor, by Christina Mitchell, her mother, Alanna Smith, a
minor, by Cheryl Radachowsky, her mother, Ashley Nicoletti, a minor,
by Jennifer Nicoletti, her mother,

                  Plaintiffs-Appellants,
v.

Connecticut Association of Schools, Inc, DBA Connecticut
Interscholastic Athletic Conference, Bloomfield Public Schools Board of
Education, Cromwell Public Schools Board of Education, Glastonbury
Public Schools Board of Education, Canton Public Schools Board of
Education, Danbury Public Schools Board of Education,

                  Defendants-Appellees,

Andraya Yearwood, Thania Edwards, on behalf of her daughter T.M.,
Commission on Human Rights and Opportunities,

                  Intervenor-Defendants-Appellees
 ____________________________________________________________________________
         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF CONNECTICUT, CASE 3:20-CV-00201 (RNC)
__________________________________________________________________
             BRIEF FOR DEFENDANTS - APPELLEES
__________________________________________________________________
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 EDUCATION
__________________________________________________________________
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                      COUNTER-STATEMENT OF THE ISSUES

           1.     Did the district court properly hold that Ashley Nicoletti and

Alanna Smith’s requests for prospective injunctive relief were moot?

       2.         Did the district court properly hold that Plaintiffs lacked

standing to seek the requested injunction requiring Defendants to alter

records related to races completed several years ago?

           3.     Did the district court properly dismiss Plaintiffs’ claims for

monetary damages because Defendants’ lacked prior notice that their

conduct violated Title IX?

           4.     Alternatively, should the district court’s order dismissing

Plaintiffs’ Amended Complaint be affirmed on the grounds that the

CIAC policy does not violated Title IX, as fully set forth in the brief of

the intervenor-defendants Terry Miller and Andraya Yearwood?

           5.     Whether, if this case is remanded, this Court should

reassign the case to a different judge in the District of Connecticut?


                       COUNTER-STATEMENT OF THE CASE

           Because the district court granted Defendants’ motion to dismiss,

this factual background section is based on the allegations in the

operative complaint, any documents attached to the complaint or
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incorporated by reference in the complaint, and other facts of which

judicial notice may be taken. See DiFolco v. MSNBC Cable LLC, 622

F.3d 104, 111 (2d Cir. 2010).

           A.     The CIAC Policy

           Since 2013, the Connecticut Interscholastic Athletic Conference

(“CIAC”) has followed a policy of allowing students who are transgender

to play on sex-separated sports teams that are consistent with their

gender identity if they meet certain criteria. (JA149, ¶74) 1 (citing CIAC

By-Laws Article IX, Section B). 2 The CIAC Policy specifies that:

           The CIAC is committed to providing transgender student-
           athletes with equal opportunities to participate in CIAC
           athletic programs consistent with their gender identity.
           Hence, this policy addresses eligibility determinations for
           students who have a gender identity that is different from
           the gender listed on their official birth certificates [at the
           time of birth]. 3

1
 On July 9, 2021, Plaintiffs filed a two-volume Joint Appendix. FRAP
30(b)(1) requires the parties to meet and confer about the contents of
the Appendix, and sets forth a process to resolve any disagreements. In
this case, the Plaintiffs’ counsel failed to confer with counsel for any of
the Defendants before filing the “Joint Appendix.”

2
 The CIAC By-Laws are available online at
http://www.casciac.org/ciachandbook.

3
 Of course, some transgender students may have had their gender
markers changed on their birth certificates as part of the process of
transitioning. The CIAC policy would cover those students as well.
                                           2
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CIAC By-Laws Article IX, Section B. The policy acknowledges that any

other rule would be “fundamentally unjust and contrary to applicable

state and federal law.” Id. For purposes of the CIAC policy, a student’s

school district “shall determine a student’s eligibility to participate in a

CIAC gender specific sports team based on the gender identification of

that student in current school records and daily life activities in the

school and community at the time that sports eligibility is determined

for a particular season.” Id. By submitting a team roster to the CIAC,

each school district “is verifying that it has determined that the

students listed on a gender specific sports team are entitled to

participate on that team due to their gender identity and that the

school district has determined that the expression of the student’s

gender identity is bona fide and not for the purpose of gaining an unfair

advantage in competitive athletics.” Id.

           B.     Andraya Yearwood and Terry Miller

           Individual Intervenor-Defendants Andraya Yearwood and Terry

Miller attended the Cromwell Public Schools (“Cromwell”) and

Bloomfield Public Schools (“Bloomfield”), respectively. (JA133, ¶¶15–16)



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They are teenage girls who are transgender, which means that they

have a gender identity that differs from their sex designated at birth. 4

           Pursuant to the CIAC policy, Yearwood competed on the girls’

track-and-field team at Cromwell High School for the 2017, 2018, and

2019 indoor and outdoor seasons. (JA151-56 ¶¶90, 91, 99).5 Miller

competed on the girls’ track-and-field team at Bloomfield High School

for the 2018 outdoor season and the 2019 indoor and outdoor seasons.

(JA153-55, ¶¶88–91) 6 Both Yearwood and Miller also competed on the

girls’ track-and-field team for the 2020 indoor season, but they

graduated from high school in 2020. (Pl. Brief pg. 8).




4
    See, e.g., Grimm v. Gloucester Cty. Sch. Bd., 302 F. Supp. 3d 730, 743
(E.D. Va. 2018) (quoting Endocrine Society’s clinical practice
guidelines).
5
  The published results of all of Yearwood’s track-and-field events
(“Yearwood’s Results”) are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=14519891. A
copy was attached as Exhibit A to Defendants Memorandum of Law in
Support of Motion to Dismiss (“Mem.”) [Ecf.145-1].
6
 The published results for Miller’s events (“Miller’s Results”), Ex. B. to
Mem., are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=14046370.
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           C.     Plaintiffs

           Plaintiffs are four non-transgender girls: Selina Soule, 7 Chelsea

Mitchell, 8 Alanna Smith, 9 and Ashley Nicoletti. 10 Soule and Mitchell

have now graduated from high school. (Pl. Brief pg. 8). Thus, the only

parties to this case who are current high school students are Smith and

Nicoletti. (JA170, 175-77) (stating that only plaintiffs Smith and

Nicoletti are seeking prospective injunctive relief) (Pl. Brief pg. 9, n.2).

           D.     Plaintiffs’ Participation in High School Girls’ Track

           The high schools attended (or formerly attended) by Plaintiffs and

the Individual Intervenor-Defendants all participate in the CIAC for




7The published results for Soule’s events (“Soule’s Results”), Ex. C to
Mem., are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=10678905.

8The published results of Mitchell’s events (“Mitchell’s Results”), Ex. D.
to Mem., are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=12095608.

9The published results of Smith’s events (“Smith’s Results”), Ex. E. to
Mem., are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=14790311&L
=4.

10The published results of Nicoletti’s events (“Nicoletti’s Results”), Ex.
F to Mem., are posted online at
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=14752303.
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outdoor and indoor track. Schools are grouped by size, or “Class”: Class

S, M, L, or LL. Schools generally compete against schools their same

size. At the end of the season, there is a Class championship meet in

both indoor and outdoor track. (JA150 ¶79) The students with the five

fastest times in, for example, the girls’ outdoor track 100m final at the

Class M championship advance to the subsequently held State Open

Championship. (JA150-53, ¶¶79, 81, 87) At the State Open, students

from the various Classes compete against each other in each race. Id.

After some preliminary heats, the top finishers race in the final heat of,

for example, the girls’ outdoor track 100m final, and have the

opportunity to move on to the New England Championship. Id.

           Plaintiffs assert that girls who are transgender have an unfair

“athletic advantage,” and that Yearwood and Miller’s participation in

girls’ track-and-field events deprives Plaintiffs of equal athletic

opportunity on the basis of sex in violation of Title IX. (JA173-75,

¶¶165–66, 175–76). Plaintiffs assert in conclusory terms that, as a

result of the participation of girls who are transgender in girls’ high

school athletic events, Plaintiffs “are losing competitive opportunities,

the experience of fair competition, and the opportunities for victory and

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the satisfaction, public recognition, and scholarship opportunities that

can come from victory.” (JA148, ¶70) Despite these sweeping assertions,

Plaintiffs only identify a few specific instances in which Yearwood or

Miller allegedly had any impact on Plaintiffs’ athletic opportunities.

                i.    Selina Soule.

           Soule identifies only one instance in which she was allegedly

denied an athletic opportunity as a result of competing against either

Yearwood or Miller. (JA154-55 ¶¶91–92) (Pl. Brief pg. 7) During the

2019 indoor track season, Soule competed against Yearwood and Miller

in the 55m dash at the State Open Championship. (JA154 ¶91). In the

preliminary race, to determine eligibility for the final heat of the State

Open Championship in the 55m dash, Miller had the fastest time and

Yearwood had the second-fastest. Id. Soule had the eighth-fastest

time—behind Miller, Yearwood, and five other, non-transgender girls,

including Mitchell—and therefore failed to qualify for the final 55m

championship race. Id.

                ii.   Ashley Nicoletti

           Nicoletti also only cites one instance in which she was allegedly

denied an athletic opportunity as a result of competing against either

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Yearwood or Miller. (JA157 ¶100) During the 2019 outdoor season,

Nicoletti competed against Yearwood and Miller in the 100m at the S

Class Women’s Outdoor Track Finals. Id. In the preliminary race, to

determine eligibility for the final heat, Mitchell had the fastest time,

Miller had the second- fastest time, and Yearwood had the third-fastest

time. Id. Nicoletti had the ninth-fastest time and failed to qualify for

the final. Id.

                iii.   Alanna Smith.

           Smith also cites only one occasion where she was negatively

affected by Yearwood or Miller’s participation. (JA158 ¶ 102) During

the 2019 outdoor season, Smith competed against Miller in the 200m

State Open Championship. Id. Miller placed first, and Smith placed

third. Id.

                iv.    Chelsea Mitchell

           Plaintiff Chelsea Mitchell competed against Yearwood and Miller

on several occasions, beating them in some races and finishing behind

them in others. (JA154-58 ¶¶ 91, 100–02) For example, in the 2019

outdoor season, Mitchell outperformed both Miller and Yearwood in the

preliminary heat in the 100m S Class championship, but then finished

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behind Yearwood and in front of Miller in the final of that even. Id.

¶¶ 100–01. Miller identifies four races in total where, if Miller and/or

Yearwood did not participate, she would have finished first and “won”

the race. Id. ¶ 108.

           E.     Plaintiffs’ Claims and Requested Relief

           Plaintiffs assert that as a result of Yearwood and Miller’s

participation in track and field, Defendants have violated Title IX by

failing to effectively accommodate the athletic abilities of girls, and

failing to provide equal treatment, benefits, and opportunities for girls’

athletics. (JA175-76) For these alleged violations, Plaintiffs seek

nominal and compensatory damages. Id. Plaintiffs also seek prospective

relief in the form of a declaratory judgment and three injunctions. Id.

                  •   Plaintiffs Smith and Nicoletti request “[a]n injunction
                      prohibiting all Defendants . . . from permitting males [sic]
                      from participating in events that are designated for girls,
                      women, or females.” Id.
                  •   All Plaintiffs also seek “[a]n injunction requiring all
                      Defendants to . . . remove male [sic] athletes from any
                      record or recognition purporting to record times, victories,
                      or qualifications for elite competitions designated for girls
                      or women, and conversely to correctly give credit and/or
                      titles to female athletes who would have received such
                      credit and/or titles but for the participation of athletes
                      born male and with male bodies in such competitions.” Id.


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                  •   Finally, all Plaintiffs seek “[a]n injunction requiring all
                      Defendants to correct any and all records, public or non-
                      public, to remove times achieved by athletes born male
                      and with male bodies from any records purporting to
                      record times achieved by girls or women.” Id.

           F.     Procedural history.

           On February 12, 2020, Plaintiffs filed their Complaint and request

for expedited hearing, which they did not serve on Defendants until

February 18 and 19, 2020. (JA009 #1; JA011 #26) On February 27,

2020, the district court held a telephone status conference. (JA012 #52)

Shortly thereafter, the COVID-19 pandemic forced significant changes

upon all aspects of life, including high school sports. Specifically, the

first COVID-19 case in Connecticut was announced March 8, 2020, and

on March 10, the CIAC cancelled all games and tournaments for winter

sports. 11 “On March 15, [Governor] Lamont signed an executive order

directing all schools to cancel in-person education through the end of

the month. The next day, the state ordered the closure of restaurants.

Within weeks, the state was essentially locked down.” Id. After initially



11
  Shawn McFarland, “One year ago, the CIAC cancelled high school sports due to
COVID-19. Here’s how the decision went down.” Hartford Courant, available at:
https://www.courant.com/sports/high-schools/hc-sp-prem-ciac-cancelled-winter-
sports-tournament-one-year-ago-20210309-j5xhb4yjmnh37jo77o22xrgppq-
story.html.
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postponing the spring sports season, the CIAC voted By May 2020 to

permanently cancel that season. 12

           On May 4, 2020, the district court held a pre-filing conference.

(JA020 #101) On August 11, 2020, Plaintiffs filed a Second Amended

Complaint. (JA130) On August 21, 2020, Defendants filed a joint motion

to dismiss. (JA025 #145) On April 25, 2021, the district court granted

the Defendants’ motion to dismiss. (JA 259).

                         SUMMARY OF THE ARGUMENT

           The district court did not err in dismissing Plaintiffs’ Second

Amended Complaint. First, at the time that the motion to dismiss was

decided by the Court, Yearwood and Miller had both graduated from

their respective high schools, and Plaintiffs have not identified other

transgender girls participating in track and field, much less in

Plaintiffs’ events and at a level to beat Smith or Nicoletti. Their request

for prospective injunctive relief was therefore moot, and not capable of

repetition yet avoiding review. Furthermore, the district court correctly

concluded that Plaintiffs’ request for retrospective injunctive relief was


12
  Joe Morelli, “CIAC officially cancels 2020 spring season, following schools’
closure.” Available at https://www.gametimect.com/ciac-expected-to-finally-
cancel-spring-season/.
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based on wholesale speculation, as Plaintiffs cannot credibly claim their

educational or employment opportunities will be impacted by the

results of a handful of races several years ago.

           In addition to requesting their requests for injunctive relief, the

district court also correctly dismissed Plaintiffs’ claims for money

damages. At the time the lawsuit was filed, there was simply no legal

authority showing that Defendants’ conduct violated Title IX. To the

contrary, guidance from the Department of Education and holdings

from across the country demonstrated that Defendants’ conduct

comported with Title IX.

           For these reasons, Defendants believe that the district court’s

ruling should be affirmed on appeal. Should this case be remanded,

however, it must be remanded to the same judge. Plaintiff’s request for

reassignment is inappropriate, as Judge Chatigny acted appropriately

at all times and has not demonstrated that he has prejudged the case or

engaged in any other conduct warranting reassignment.

           Finally, even if the District Court erred in its ruling, the Court

should affirm the dismissal for the alternative grounds set forth in the

brief from Intervenor Defendants Yearwood and Miller. More

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specifically, Title IX does not prohibit girls who are transgender from

competing on the girls team. To hold otherwise would itself violate the

Title IX and Equal Protection rights of Miller and Yearwood.

                                    ARGUMENT

I.         THE DISTRICT COURT CORRECTLY HELD THAT SMITH’S
           AND NICOLETTI’S CLAIMS ARE MOOT AND THAT IT
           LACKED SUBJECT MATTER JURISDICTION OVER THEIR
           CLAIM FOR AN INJUNCTION AGAINST THE CIAC POLICY.

           In ruling on Defendants’ motion to dismiss, the District Court held

that Smith’s and Nicoletti’s 13 claims for prospective injunctive relief,

i.e., an order that CIAC’s policy violates their rights under Title IX, is

moot because Miller and Yearwood, “whose participation in girls’ track

provided the impetus for this action,” had graduated. (JA 271-75).

Furthermore, the court held that, even if it is “theoretically possible”

that a girl who is transgender may attempt to participate in girls’ track

in the future, injury to Smith and Nicoletti would depend on that

hypothetical student participating in their events and winning, which

was too speculative to satisfy the “case or controversy” requirement of

Article III. Id. The district court rejected not only Plaintiffs’ argument



13
  Plaintiffs concede that Mitchell and Soule have graduated and do not seek
prospective injunctive relief. (Pls’ Brief, p. 31).
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that Defendants’ burden to prove mootness was heightened, id., but also

that the alleged injury was “capable of repetition, yet evading review”

Id. As is specifically relevant here, the district court held that any

possibility of repetition “is not reasonably likely but, at best, only a

theoretical and speculative possibility.” (emphasis in original) id. at *6.

Plaintiffs fail to set forth any legal basis for overturning the District

Court’s ruling. 14

           A.     Standard of Review is “Clear Error” for Factual Findings
                  and “De Novo” for Legal Conclusions.
           “Under Article III of the U.S. Constitution, when a case

becomes moot, the federal courts lack subject matter jurisdiction over

the action.” (Internal quotation marks omitted). Doyle v. Midland

Credit Mgmt., Inc., 722 F.3d 78, 80 (2d Cir. 2013). “The standard of

review for determinations regarding subject matter jurisdiction is clear

error for factual findings, and de novo for the legal conclusion as to




14
   Plaintiffs’ substantive arguments that the CIAC policy violates Title
IX have no bearing on whether Plaintiffs’ claims are moot. Defendants
further note that Intervenor Defendants Miller and Yearwood have
thoroughly examined the substantive arguments in their separately-
filed brief setting forth alternative grounds for affirmance, which are
incorporated herein.
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whether subject matter exists.” Lyndonville Sav. Bank & Tr. Co. v.

Lussier, 211 F.3d 697, 701 (2d Cir. 2000).

           B.     The “Absolutely Clear” Burden Asserted by Plaintiffs
                  Applies only to the Voluntary Cessation Doctrine, which is
                  Irrelevant Here.

           Plaintiffs argue that unless Defendants can prove that it is

“absolutely clear” that Plaintiffs “will not face…competition” from girls

who are transgender “in the future” their claims are not moot. (Pls’

Brief, p. 27). This standard does not apply.

           As the district court correctly held, the “absolutely clear” standard

applies only to the “voluntary cessation doctrine.”

                [U]nder the voluntary cessation doctrine. . . a defendant's
                voluntary cessation of a challenged practice does not deprive a
                federal court of its power to determine the legality of the
                practice. The voluntary cessation of allegedly illegal activities
                will usually render a case moot if the defendant can
                demonstrate that (1) there is no reasonable expectation that
                the alleged violation will recur and (2) interim relief or events
                have completely and irrevocably eradicated the effects of the
                alleged violation.

(Internal quotation marks and citations omitted; emphasis in original).

Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 603–04 (2d Cir.

2016). This Court recently confirmed that the voluntary cessation

doctrine does not apply where mootness did not result from the


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defendant’s conduct. See Conn. Citizens Def. League, Inc. v. Lamont, 6

F.4th 439, 446 (2d Cir. 2021).

           Here, Plaintiffs’ claims are moot because Miller and Yearwood

graduated high school, not because of Defendants’ conduct. Accordingly,

Plaintiffs’ reliance on the heightened burden required by the voluntary

cessation doctrine is simply incorrect.

           C.     Smith and Nicoletti’s Claim for Injunctive Relief is Moot.

           In regard to mootness, this Court has explained:

                The federal courts are courts of limited jurisdiction, their
                powers circumscribed at their most basic level by the terms of
                Article III of the Constitution, which states that they may hear
                only “Cases” or “Controversies.”…[A]t [the] uncontroverted core
                of [the “case or controversy” requirement] lies the principle
                that, at all times, the dispute before the court must be real and
                live, not feigned, academic, or conjectural.

                The requisite dispute must persist throughout the litigation—
                in a case such as this, from first filing in the district court
                through its many ascents and descents of the appellate
                ladder—and if the dispute should dissolve at any time due to a
                change in circumstances, the case becomes moot. Whenever
                mootness occurs, the court – whether trial, appellate, or
                Supreme – loses jurisdiction over the suit, which therefore
                must be dismissed.

(Internal citations, quotation marks and footnotes omitted). Russman v.

Bd. of Educ. of Enlarged City Sch. Dist. of City of Watervliet, 260 F.3d

114, 118 (2d Cir. 2001); see Conn. Citizens, 6 F.4th at 444. “Mootness is
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a recurring phenomenon in students' suits to vindicate constitutional

rights associated with the conditions of their education: a student's

graduation ends his individual interest in the conditions of education at

his former school.” Russman, 260 F.3d at 119.

           Citing no law to support their assertions, Plaintiffs argue that

their claims are not moot based on Miller and Yearwood’s graduation

because there could possibly be another girl who is transgender waiting

in the wings. 15 (Pls’ Brief, pp. 27-28). This type of mere speculation does

not keep a controversy live. See City News & Novelty, Inc. v. City of

Waukesha, 531 U.S. 278, 285 (2001). Once Miller and Yearwood

graduated, Smith and Nicoletti no longer had a “personal stake” in the

outcome of this litigation. See Conn. Citizens, 6 F.4th at 444.

           For example, in Cook v. Colgate Univ., 992 F.2d 17 (2d Cir. 1993),

the plaintiffs were female collegiate hockey players who challenged the

university’s decision to only offer a men’s varsity hockey team under




15
  Plaintiffs claim that the district court erroneously tasked them with
the burden of proving that there are other girls who are transgender
against who they will compete, rather than on Defendant to prove
otherwise. That is not true. The district court noted that “Defendants
have the burden of establishing mootness” and that it was “[a]pplying
this standard.” (JA271).
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Title IX. See id. at 18. The injunction issued by the trial court did not

take effect until after the plaintiffs graduated. See id. at 19. Even

though overturning the injunction meant that the Title IX violation

remained unremedied, the plaintiffs no longer had a “personal stake”

[b]ecause…nothing that we decide could affect their rights vis-a-vis

Colgate” and, therefore, the claims were moot. Id. (collecting similar

cases); see also Boucher v. Syracuse Univ., 164 F.3d 113, 118 (2d Cir.

1999) (injunction seeking unequal funding was moot because university

funded various women’s varsity teams).

           The CIAC policy has no effect on Plaintiffs unless a girl who is

transgender competes against them. Although Miller and Yearwood

were competing at the time the lawsuit was filed, they graduated in

June 2020, and Plaintiffs have not alleged that there are other girls

who are transgender competing against them in track during the 2021-

2022 school year, before Smith and Nicoletti also graduate. As in Cook,

an injunction barring the CIAC policy will have no practical effect on

either girl because neither Smith nor Nicoletti have any “personal

stake” remaining. See Marshall v. New York State Pub. High Sch.

Athletic Ass'n, Inc., 374 F. Supp. 3d 276, 286 (W.D.N.Y. 2019) (claim

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moot because “there is no live case or controversy between the parties to

this action” (emphasis in original)).

           D.     Plaintiffs Have Failed to Prove that the Harm Alleged is
                  “Capable of Repetition, Yet Evading Review.”

           As first recognized in Southern Pacific Terminal Co. v. ICC, 219

U.S. 498 (1911), “[a] narrow exception to the principle that a moot claim

is to be dismissed, available only in exceptional situations, is that the

court may adjudicate a claim that, though technically moot, is ‘capable

of repetition, yet evading review’.” (Internal citations and quotation

marks omitted). Altman v. Bedford Cent. Sch. Dist., 245 F.3d 49, 71 (2d

Cir.), cert. denied sub. nom Dibari v. Bedford Cent. Sch. Dist., 534 U.S.

827 (2001); see also Russman, 260 F.3d at 119 (same).

           In Sosna v. Iowa, 419 U.S. 393 (1975), the U.S. Supreme Court

held that an action “capable of repetition, yet evading review” is

“limited to the situation where two elements combine[]: (1) the

challenged action was in its duration too short to be fully litigated prior

to its cessation or expiration, and (2) there was a reasonable expectation

that the same complaining party would be subjected to the same action

again.” Weinstein v. Bradford, 423 U.S. 147, 149 (1975). Plaintiffs “of

course, bear[] the burden of demonstrating that this controversy is
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indeed “capable of repetition, yet evading review,” Video Tutorial

Servs., Inc. v. MCI Telecommunications Corp., 79 F.3d 3, 6 (2d Cir.

1996), and that “the repetition would affect the ‘same complaining

party’.” Altman, 245 F.3d at 71 (quoting Weinstein, 423 U.S. at 149).

           To “evade review,” the conduct at issue “could not be entirely

litigated before again becoming moot, including prosecution of appeals

as far as the Supreme Court.” Russman, 260 F.3d at 119. To satisfy the

repetition requirement, more than “a mere physical or theoretical

possibility” is necessary; “[r]ather…there must be a ‘reasonable

expectation’ or a ‘demonstrated probability’ that the same controversy

will recur involving the same complaining party.” Murphy v. Hunt, 455

U.S. 478, 482 (1982). “[T]he appellant must show that these same

parties are reasonably likely to find themselves again in dispute over

the issues raised in this appeal,” but “mere speculation…does not rise to

the level of a ‘reasonable expectation’ or ‘demonstrated probability’ of

recurrence.” Dennin v. Connecticut Interscholastic Athletic Conf., Inc.,

94 F.3d 96, 101 (2d Cir. 1996). 16


16
  Plaintiffs rely on Barry v. Lyon, 834 F.3d 706 (6th Cir. 2016) (citing
Honig v. Doe, 484 U.S. 305 fn. 6 (1988)) for the proposition that they
need only to show that they “possibly could [find themselves] once again
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           Thus, even assuming, arguendo, that the first prong is met, the

second prong clearly is not. At the time the case was dismissed, both

Miller and Yearwood had graduated. Smith and Nicoletti are now

Seniors, and they have not alleged that another girl who is transgender

is expected to participate against them in indoor or outdoor track in

their Senior year, no less in their specific events. Plaintiffs repeatedly

use the words “possibly” and “may.” But “theoretical possibility” and

“mere speculation” are insufficient to meet this standard.




           E.     Neither Smith nor Nicoletti are Actively Harmed by the
                  Mere Existence of the CIAC Policy.

           Finally Plaintiffs argue that the CIAC policy is facially

discriminatory and therefore they need not identify any other girl who




in the situation [they] faced when [the] suit was filed.” (Pls’ Brief, p. 41)
The Second Circuit explicitly rejected this interpretation of Honig. See
Lillbask ex rel. Mauclaire v. State of Conn. Dept. of Educ., 397 F.3d 77,
86 (2d Cir 2005) (citing Deeper Life Christian Fellowship, Inc. v. Sobol,
948 F.2d 79, 82 (2d Cir. 1991) (“This court…has explicitly rejected
efforts to read Honig broadly to require only that repetition could
possibly occur, not that there is a probability that it will occur.”).
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is transgender against whom they must compete to avoid dismissal. 17

(Pls’ Brief, pp. 28-37). The Second Circuit has flatly rejected similar

arguments in cases seeking injunctive relief. 18 See MGM Resorts Int'l

Glob. Gaming Dev., LLC v. Malloy, 861 F.3d 40, 47-49 (2d Cir. 2017), as

amended (Aug. 2, 2017). Nor is the CIAC policy discriminatory. (See

Intervenor’s Brief).

           Moreover, the cases cited by Plaintiffs are inapposite. Plaintiffs

cite only to portions of those decisions addressing standing, not

mootness. See Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No.

1, 551 U.S. 701, 718 (2007); Adarand Constructors, Inc. v. Pena, 515

U.S. 200, 210-11 (1995); Ne. Fla. Chapter, Associated Gen. Contractors

of Am. V. Jacksonville, 508 U.S. 656, 666 (1993); Doe ex rel. Doe v.

Vermilion Par. Sch. Bd., 421 Fed. Appx. 366, 373 (5th Cir. 2011);

Pederson v. Louisiana State Univ., 213 F.3d 858, 871 (5th Cir. 2000);

Boucher v. Syracuse Univ., 164 F.3d 113, 116 (2d Cir. 1999).



17
  They also argue others may be harmed as well, but this is not a class
action and Plaintiffs do not have standing to assert the claims of others.

18A damages claim may survive Yearwod and Miller’s graduations, but
here damages are unavailable pursuant to Pennhurst. See Cook, 992
F.2d at 19; Boucher, 164 F.3d at 118.
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           Even if standing were relevant, which it is not, none of the cases

are helpful. Parents Involved, Adarand and Ne. Fla. Contractors involve

set aside programs, which are not at issue here. Moreover, there is no

“barrier” because there is no girl who is transgender competing against

either Smith or Nicoletti, nor any other “actual or imminent, not

conjectural or hypothetical” injury. Ne. Fla. Contractors, 508 U.S. at

663; see Adarand, 515 U.S at 211-12. An “alleg[ation] [of] an injury at

some indefinite future time” that is dependent on another girl who is

transgender deciding to run track “stretch[s] [the concept of imminence]

beyond [its] breaking point.” Lujan v. Defs. of Wildlife, 504 U.S. 555,

564 n. 2 (1983).

           Furthermore, while Ne. Fla. Contractors and Parents Involved did

touch upon mootness in other parts of the decisions, they followed the

voluntary cessation doctrine, which does not apply here. See Seattle,

551 U.S. at 719; Jacksonville, 508 U.S. at 662; see also Pederson, 213

F.3d at 874-75 (class claims only). And Pederson, helps Defendants –

the plaintiffs’ individual claims were dismissed as moot because the

plaintiffs had graduated. See id; see also Doe, 421 Fed. Appx. at 375-76

(same).

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           The same holds true with Boucher. In Boucher, the university had

two more men’s varsity teams than women’s. See Boucher, 164 F.3d at

116. The complaint was brought as a class action by several female

athletes who participated in club sports. See id. at 115. After affirming

dismissal of equal treatment claims based on lack of standing because

the plaintiffs were club, not varsity, athletes, see id. at 116, it also

dismissed/recommended dismissal of claims for injunctive relief as

moot, see id. at 117-19, the very result Plaintiffs seek to avoid here. The

claims were moot because the University developed and implemented

women’s teams while the case was pending. Id. at 118. The Court did

not, as Plaintiffs argue, “allow[] [the] Title IX suit to move forward”

because the “plaintiff[s] demonstrated equal treatment.” (Pls’ Brief, p.

37). It flatly rejected it. Boucher, 164 F.3d at 120.

           In sum, Plaintiffs claims for injunctive relief are moot because

Miller and Yearwood graduated high school, and Plaintiffs have not met

their burden of proof that their alleged injury is capable of repetition, yet

evading review.




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II.        PLAINTIFFS DO NOT HAVE STANDING TO PURSUE
           INJUNCTIVE RELIEF TIED TO ALTERING RECORDS OF
           RACES FROM PRIOR SCHOOL YEARS

           Plaintiffs also request an injunction ordering Defendants to

change prior athletic records. The district court found Plaintiffs lacked

standing for the injunctive relief because they had not demonstrated it

was “likely, as opposed to merely speculative, that the injury will be

redressed by a favorable decision.” Lujan, 504 U.S. at 560. In their

opening brief, Plaintiffs argue that the District Court’s finding was

erroneous because “an injunction that requires Defendants to correct

athletic records to recognize female athletes achievements would bolster

Plaintiff’s prospects for college recruitment and future employment,”

and therefore Plaintiffs have a redressible injury. (Pl. Brief p.26).

Plaintiffs also argue that the records codify and exacerbate the injuries

caused by the Policy, and that altering the records would redress those

injuries. These arguments rely on pure speculation, however, and fail to

provide any basis for standing.

           A.     Standard of Review.

           “The standard of review for determinations regarding subject

matter jurisdiction is clear error for factual findings, and de novo for the


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legal conclusion as to whether subject matter exists.” Lyndonville, 211

F.3d at 701.

           B.     The District Court properly concluded that concerns about
                  lost educational and employment opportunities were too
                  speculative to provide Plaintiffs with standing.

           To satisfy the Constitution's “case-or-controversy requirement,” a

plaintiff in federal court “must establish that they have standing to

sue.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 408 (2013). As this

Court recently stated, the party invoking federal jurisdiction bears the

burden of establishing that they “have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.”

Lacewell v. Off. of Comptroller of Currency, 999 F.3d 130, 141 (2d Cir.

2021)(cleaned up). In regards to the redressability element, a plaintiff

must show that “it is likely, as opposed to merely speculative, that the

injury will be redressed by a favorable decision.” Lujan, 504 U.S. at 560.

Speculation is not a valid basis for standing. Clapper, 568 U.S. at 401.

Therefore, the Supreme Court has been “reluctant to endorse standing

theories that require guesswork as to how independent decision makers

will exercise their judgment.” Id. at 413. Plaintiffs’ claims of potential

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educational and employment-related injuries in the future are both

based on the exact type of speculation that the Supreme Court has

found is an improper basis for standing.

                i.    Plaintiffs have failed to allege lost educational
                      opportunities that are non-speculative.

           The operative complaint alleges that Smith and Nicoletti were

sophomores when the lawsuit was initiated in February 2020, which

would make them seniors during this 2021-2022 school year. 19 In the

operative complaint, Plaintiffs do not specifically allege that Smith and

Nicoletti have lost out on scholarship opportunities because of the

results of races in the 2018-2019 school year. Instead, the operative

complaint only makes broad statements about these Plaintiffs being

excluded from “honors, opportunities to compete at higher levels, and

public recognition critical to college recruiting and scholarship

opportunities . . . .” (JA131, ¶3; JA174, ¶ 167) Despite the lack of

specific factual allegations in the operative complaint, Plaintiffs argue

in their opening brief that college coaches and administrators would be



19
  Plaintiffs’ opening brief does not make a claim of lost educational
opportunities on behalf of either Soule or Manning, both of whom
graduated in 2020. (Pl. Brief, p.19-20).
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focused on the results of certain races during the 2018-2019 school year

when assessing possible scholarships for Smith and Nicoletti in 2021 or

2022, and, therefore, if records related to those races are corrected, this

will “bolster” their chances for a scholarship. (Pl. Brief, p. 26) This

argument suffers from significant factual and logical errors.

           It is well understood that colleges consider a wide-range of

information when making athletic scholarship offers, including

academic factors (e.g., a student’s GPA, class rank, SAT or ACT scores,

and the reputation of the high school they attended), non-academic

factors (e.g., extracurricular activities, community involvement, legacy

status, financial need, etc.), and athletic accomplishments (overall

performance in high school, whether the student progressed over the

years, the level of competition, the league the team was in, and other

more sport-specific factors such as the student’s speed on their fastball,

shooting percentage on three-point shots, or a best time in a specific

type of swimming or running race). The wide range of factors that

colleges consider demonstrates that Plaintiffs’ argument concerning the




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importance of those particular races from 2018-2019 is pure

speculation. 20

           When addressing Smith and Nicoletti’s hypothetical loss of

educational opportunities, Plaintiffs focus exclusively on their places in

two races in the 2018-2019 season, which they claim they “lost because

the Policy allowed biological males to compete.” (Pl. Brief, p.16)

Plaintiffs first allege that, as a freshman in 2019, Smith placed third in

a State Open Championship event, and that she would have finished

runner-up but for the Policy. Id. Plaintiffs offer no credible explanation

for how this single event during her freshman year would negatively

impact her ability to secure an athletic scholarship for college, or any

explanation as to why a second place in one race may be more

important than a third place finish. It simply defies logic to believe that

any such change in position would provide any relief to Smith. This is




20
  Moreover, no high school student has a right to a college scholarship,
athletic or academic, and courts have consistently rejected claims that a
student’s opportunity for a scholarship was limited in some manner by
schools or athletic associations. See, e.g., K. L. v. Missouri State High
Sch. Activities Ass'n, 178 F. Supp. 3d 792, 799 (E.D. Mo. 2016) (“Courts
are generally in accord . . . . that the speculative possibility of obtaining
a college athletic scholarship is not a protected property right justifying
judicial intervention.”)(citation omitted; collecting cases).
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especially true since that race occurred in her freshman year, and

Plaintiffs specifically allege that Smith plans to compete throughout the

rest of her high school career--for which she seeks an injunction

preventing any transgender students from competing against her

during that time. (JA 170, ¶149-50) Given this expressed desire to

compete in her junior and senior years, when her times will be a better,

more recent example to colleges of her potential for an athletic

scholarship, she cannot credibly claim that she will miss out on any

athletic scholarships because of the results of one race in her freshman

year.

           Nicoletti’s claim of potential lost educational opportunities is even

weaker, as the only record that Plaintiffs want changed for her is a race

where she “would have advanced to the next level of competition in . . .

[a] state championship and competed for a spot at the State Open

Championship.” (Pl. Brief, p.16-17) A closer examination of the record

she seeks to changes reveals that it was a preliminary race in the 2019

Class S Women’s Outdoor 100m championship. (JA157 ¶100) In that

race, Nicoletti did not even finish in the top 8, which was necessary to

advance to the final, championship heat. (JA169 ¶ 144) It would require

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a great deal of speculation to find that the results of this preliminary

race, if left to stand, could somehow impact Nicoletti’s chances of an

athletic scholarship several years later.

           Even if records could be changed, Plaintiffs do not explain in the

operative complaint or in their opening brief why, for example, a

student’s place in the Connecticut Class S State Championship 100m

race would be more relevant to a college coach than the student’s actual

time in that race. For example, a fifth place finish in that race would be

impressive to a college coach if the race happened to contain five

college-bound runners and the fifth-place runner ran a time that would

be competitive on the college level. In contrast, a student who finishes

first in that race, but runs a time that is slower than needed to be

competitive on a college team would be unlikely to receive any

scholarship offers even though she finished first. If Smith or Nicoletti

can run fast enough to run in college, they may get a scholarship. If

they cannot, they will not. Changing the results of two races in 2018-

2019 simply will have no impact on their scholarship opportunities.

           This conclusion is buttressed by the fact that both Mitchell and

Soule have obtained spots on their college’s track and field team. The

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Court can take judicial notice that Mitchell is included on the publicly -

available 2021-22 Women’s Track & Field Roster for William & Mary.

See https://tribeathletics.com/sports/womens-track-and-

field/roster/chelsea-mitchell/14810 The Court also may take judicial

notice of the fact that Soule is competing on the track team at Florida

Atlantic University. See D.N. v. Gov. R. DeSantis et al., Case 0:21-cv-

61344-RKA, Ecf. 46, Selina Soule’s Motion to Intervene and

Memorandum in Support, p. 7 of 25. Soule’s motion is based, in part, on

Soule’s statement that “her high school athletic career included being a

ten-time All-Conference Honoree recipient, a five-time state title holder,

a three-time All New England award recipient, a four-time National

qualifier, and she holds five high school records.” Id. Because racing

against Yearwood and Miller did not prevent either Mitchell or Soule

from competing in college, and there simply is no reason to believe it

will prevent Smith or Nicoletti from competing in college, either.

                ii.   Plaintiffs’ claim that an inaccurate record will lead to
                      lost employment opportunities is improper and highly
                      speculative.

           Plaintiffs also claim that their employment prospects will be

bolstered if Miller and Yearwood’s performances are erased in records

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from the 2018-2019 school year, which provides them with non-

speculative relief for an actual injury. (Pl. Brief p.20) But nowhere in

the operative complaint is “employment” even mentioned. This

argument is something created out of whole cloth following the

cancellation of the Spring 2020 season due to COVID-19. Put more

simply, now that Miller, Yearwood, Mitchell, and Soule have all

graduated high school, Plaintiffs are desperately attempting to find an

alternative ground for standing. Such ground must be based in the

allegations of the operative complaint, however, but this claim of lost

employment opportunities is not.

           Even if there was some basis in the complaint for this argument,

it still would not provide Plaintiffs with a non-speculative ground for

standing. Because two Plaintiffs were sophomores at the time of the

lawsuit was filed, and two were seniors, all of them are still numerous

years away from seeking post-college employment. Plaintiffs cannot

credibly argue that they may be denied employment opportunities as a

result of the 2018-2019 races. Employers consider a wide range of

factors when making job offers, including the competitiveness and

location of the student’s school, and the student’s major, GPA, awards

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and honors, internships, foreign language skills, other specialized skills,

recommendations from professors, and leadership positions. Given this,

it is not surprising that this Court has consistently stated that a federal

court “does not sit as a super-personnel department to reexamine a

firm's business decisions about how to evaluate the relative merits of

education and experience in filling job positions.” Byrne v. Cromwell,

Bd. of Educ., 243 F.3d 93, 103 (2d Cir. 2001) (superseded on other

grounds).

           In an attempt to remove their argument from the realm of

speculation, Plaintiffs claim that society places a high value on athletic

achievements, that an overwhelming number of female business

executives participated in and recorded achievements in interscholastic

sports, and therefore that “it is neither speculative nor guesswork to

conclude that employers would find female athletic achievements

relevant.” (Pl. Brief, p.21). As noted previously, though, the Supreme

Court has been “reluctant to endorse standing theories that require

guesswork as to how independent decision makers will exercise their

judgment,” Clapper, 568 U.S. at 413, and employers look at a variety of

factors when making decisions about who to hire. It would be

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speculative to assume to that employers will look to the results of

certain races from 2018-2019 when making those decisions in the

future. Secondly, the studies and articles cited in Plaintiffs’ brief stand

for the unremarkable proposition that employers value participation in

athletics because athletes derive “goal setting, persistence, problem

solving, teamwork, managing emotions, and managing time” from

competitive sports. (Pl. Brief, p.23). Those attributes come about

regardless of whether a student finished first or last in any race.

           Unlike with Smith, Nicoletti, and Soule, the district court

acknowledged that the requested relief could provide Mitchell with a

basis to list four additional “wins” on her resume. The district court

found, however, that even changing those records to show that she

finished “first” would not provide Mitchell with any relief because “it

seems inevitable that before making an offer to Mitchell, a prospective

employer impressed by her record would learn that she did not actually

finish first in the four races. In other words, even with the requested

changes, Mitchell's position with regard to her employment prospects

would remain essentially the same.” (JA 278) In their brief, Plaintiffs

take issue with that statement, but is cannot seriously be disputed that

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any potential employer doing even a cursory check on Mitchell’s

background will see the reported results in many sources, including the

numerous media appearances Mitchell has made, the op-eds she has

written, and the attention she has brought to her case and the disputed

races from the 2018-2019 season. 21 More importantly, even if they are

changed to first place finishes on paper, it is entirely speculative to

believe that a prospective employer would consider her high school

athletic achievements when hiring for the position. Indeed, it his

significantly more likely that such an employer would be interested in

her college performance, including successes she had running on the

Division I women’s track and field team at William & Mary.

           Plaintiffs next claim that the District Court’s reasoning mirrors

the reasoning that courts have rejected in other cases, citing in

particular Cohen v. Brown Univ., 101 F.3d 155 (1st Cir. 1996). Plaintiffs

are mistaken, as Cohen has no bearing on this case. The plaintiffs in


21   See, e.g., editorial from Chelsea Mitchell in USA Today, available at:
https://www.usatoday.com/story/opinion/2021/05/22/transgender-
athletes-girls-women-sports-track-connecticut-column/5149532001/;
television appearance on Fox News, available at
https://www.youtube.com/watch?v=Zt4-5NhQGRA; and numerous on-
line publications and solicitations published on her law firm’s website,
available at: https://adflegal.org/search?search_term=Chelsea.
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Cohen challenged the school’s decision to demote women’s gymnastics

and volleyball from university-funded varsity sports to donor-funded

status, which plaintiffs contended limited their opportunities for

participation. In response, the University argued that the disparity in

athletic opportunities for men and women at the school was the result

of a gender-based differential in the level of interest in sports.” Id. 178.

The First Circuit rejected this argument based on statistical and actual

evidence from the university, including the fact that these two teams

had been university-funded varsity sports up that that moment. Here,

in contrast, Plaintiffs are asking the courts to divine how third-party

employers might weigh the results of a high school track meet when

making employment decisions years later. This case is far from Cohen,

and squarely within the Supreme Court’s cautionary zone concerning

“guesswork as to how independent decision makers will exercise their

judgment.” Clapper, 568 U.S. 398.

           C.     Plaintiffs personal desires do not provide standing.

           As demonstrated above, changing the records by eliminating

Miller and Yearwood’s accomplishments would not provide any

practical relief for Plaintiffs’ alleged past injuries, as required for

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standing. Recognizing this, Plaintiffs next argue that the district court

improperly overlooked the “inherent value to female athletes of having

their achievements properly recognized.” (Pl. Brief p.19). For example,

Plaintiffs argue that the alleged lack of fair recognition came as a “gut

punch” to Mitchell, which left her feeling defeated and upset that “many

great female athletes” have been “wiped from the books.” (Pl. Brief

p.18). Plaintiffs purportedly seek to vindicate their interest in

“showcasing their athletic ability and competiveness,” which they allege

gives them standing. (Pl. Brief p.19).

           To the extent the erasure of Miller and Yearwood’s records would

make Plaintiffs feel better, it is well-settled law that “psychic

satisfaction is not an acceptable Article III remedy because it does not

redress a cognizable Article III injury.” Steel Co. v. Citizens for a Better

Env’t, 523 U.S. 83, 107 (1998); Kapur v. Fed. Commc'ns Comm'n, 991

F.3d 193, 196 (D.C. Cir. 2021)( “The ‘psychic satisfaction’ of winning

doesn't cut it” for purposes of standing); Flanigan's Enterprises, Inc. of

Georgia v. City of Sandy Springs, Georgia, 868 F.3d 1248, 1268 (11th

Cir. 2017)(“[Plaintiffs] may truly believe that this purely psychic

satisfaction would serve as an effective remedy for their complained-of

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injuries. However, as in the standing context, absent an accompanying

practical effect on the legal rights or responsibilities of the parties

before us, we are without jurisdiction to give them that satisfaction.”).

           In the Amended Complaint, Plaintiffs ask for the erasure of Miller

and Yearwood’s—as well of those of any other transgender students—

records and times across the board, not only “record[s] or recognition”

for events in which Plaintiffs took part. (JA 175-177) Eliminating any

trace of Miller and Yearwood (or other transgender athletes) from

events in which Plaintiffs did not take part does not redress any

purported injury to Plaintiffs. “Relief that does not remedy the injury

suffered cannot bootstrap a plaintiff into federal court; that is the very

essence of the redressability requirement.” Steel Co., 523 U.S. at 107.

           Plaintiffs reliance on McCormick ex rel. McCormick v. Sch. Dist.

of Mamaroneck, 370 F.3d 275, 296 (2d Cir. 2004) and Parker v.

Franklin Cnty. Cmty. Sch. Corp., 667 F.3d 910, 916 (7th Cir. 2012) is

misplaced, as both of those cases involved the issue of whether

“discriminatory scheduling practices are actionable under Title IX. . . .”

Parker, 667 F. 3d at 913 (addressing discrepancy in “prime-time games”

for the boys and girls basketball teams); McCormick, 370 F.3d at 296

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(addressing discrepancy in the seasons in which boys and girls soccer

played). Those cases simply have no relation to Plaintiffs’ attempt to

force standing based on the psychic satisfaction they may receive from

changing records of events that were completed more than two years

ago. In fact, it is undisputed that, unlike the girls in McCormick,

Plaintiffs in this case had the opportunity to compete for the

championship, and Smith and Nicoletti still have that opportunity in

their senior years.

           Finally, Plaintiffs for the first time on appeal state that they feel

“erased” by the existing records, and cite Allen v. Wright, 468 U.S. 737

(1984) for the proposition that such a “stigmatizing” injury is one of the

most serious consequences of discriminatory government action and is

“sufficient . . . to support standing . . . to those persons who are

personally denied equal treatment.” Id. at 755. To the extent the Court

concludes that Plaintiffs have not waived this argument because they

failed to raise this before the trial court; see United States v. Lauersen,

648 F.3d 115, 115 (2d Cir. 2011); Plaintiffs’ reliance on Allen is

misplaced. As an initial matter, Plaintiffs improperly omitted the

phrase “in some circumstances” from the portion of Allen that they

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quote in the brief, as the full phrase states that a stigmatizing injury “is

sufficient in some circumstances to support standing…” Id. (emphasis

added). It was not sufficient in Allen itself, as the Court there found

that plaintiffs “have no standing to complain simply that their

Government is violating the law. Neither do they have standing to

litigate their claims based on the stigmatizing injury often caused by

racial discrimination.” Id.

           Similarly, purporting to feel “erased” is not “stigmatic” in nature,

as that term is commonly understood under Allen. Furthermore, Allen

made clear that “a claim of stigmatic injury, or denigration, suffered by

all members of a [ ] group,” i.e. “abstract stigmatic injury,” is not

“judicially cognizable” for purposes of standing. Id. at 755-56. Even if

feeling “erased” can be construed as “stigmatic” in nature, which

Defendants dispute, the stigma would apply to all female athletes and

is too abstract to be actionable. For example, Plaintiffs complain that

“the district court, in fact, never discussed the inherent value to female

athletes of having their achievements properly recognized.” (P19) Like

in Allen, such purported injury is too “abstract” to support standing.

Thus, Plaintiffs standing argument should be rejected. See, e.g.,

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Robinson v. Sessions, 721 Fed. App'x. 20, 24 (2d Cir. 2018) (rejecting

Plaintiffs argument that they had standing based on being stigmatized

as terrorists and potential terrorists).

III.       THE DISTRICT COURT PROPERLY DISMISSED PLAINTIFFS’
           CLAIMS FOR MONETARY DAMAGES

           The Supreme Court has long held that since Title IX was enacted

pursuant to the Spending Clause, the recipient defendant(s) must have

“adequate notice that they could be liable for the conduct at issue.”

Davis Next Friend LaShonda D. v. Monroe Cty. Bd. of Educ., 526 U.S.

629, 640 (1999). The Court stated that when Congress enacts laws

pursuant to the Spending Clause, the “legislation [is] ‘much in the

nature of a contract: in return for federal funds, the States agree to

comply with federally imposed conditions.’” Pennhurst State School and

Hospital v. Halderman, 451 U.S. 1, 17 (1981). Thus, in order to be under

adequate notice, “Congress [must] speak with a clear voice… [as] there

can, of course, be no knowing acceptance if a State is unaware of the

conditions or is unable to ascertain what is expected of it.” Id.

Accordingly, if Congress intends to impose a condition on the grant of

federal moneys, it must do so unambiguously. Id. In other words, the

law requires that there be a clear understanding from Congress as to
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what is expected of Defendants in order for them to be on adequate

notice that certain conduct or enactment of a policy would be in

violation of Title IX. That is not the case here as Congress, nor its

supporting regulations or Court opinions, have ever spoken in a clear

voice that a policy that allows transgender students to participate on

female athletic teams is a violation of Title IX.

           Title IX simply states that “[n]o person in the United states shall,

on the basis of sex, be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under any education

program or activity receiving federal financial assistance.” 20 U.S.C.

§1681. It does not use the word “biological” as a determination of how

“sex” should be interpreted. Whitaker By Whitaker v. Kenosha Unified

Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1047 (7th Cir. 2017).

“Looking at both the specific and broader context of the use of the term

‘sex,’ neither Title IX nor the implementing regulations define the term

‘sex’ or mandate how to determine who is male and who is female ….”

Bd of Ed. of the Highland Local Sch. Dist. V. United States Dept. of

Education, 208 F.Supp.3d 850, 867 (S.D. Ohio 2016).



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           As the district court noted, since the statute is so broad, Congress

delegated authority to the Department of Education to “promulgate

specific rules” regarding its interpretation. (JA280); see also Biediger v.

Quinnipiac Univ., 691 F.3d 85, 96 (2d Cir. 2012) (“Congress explicitly

delegated to the administering agency ‘the task of prescribing standards

for athletic programs under Title IX.’ ” (quoting McCormick, 370 F.3d at

288). Thus, guidance from ED would be what puts the defendants on

notice as to what violates Title IX. See Davis, 526 U.S. at 647 (guidance

issued by ED providing that certain discrimination violates Title IX

would have “contribute[d] to [the School] Board’s notice of proscribed

misconduct” had it been issued earlier).

           ED has not released any regulations or statements that allowing

girls who are transgender to participate in girls athletics violates Title

IX. Instead, ED’s guidance has been that transgender students are

protected under Title IX. Beginning in 2014, ED’s Office of Civil Rights

(“OCR”) notified schools that “[a]ll students, including transgender

students and students who do not conform to sex stereotypes, are

protected from sex-based discrimination under Title IX.” (JA241)




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           In 2015, OCR released a letter stating that “[t]he Department’s

Title IX regulations permit schools to provide sex-segregated … athletic

teams…[and] [w]hen a school elects to separate or treat students

differently on the basis of sex … a school must generally treat

transgender students consistent with their gender identity.” (Emphasis

added). (JA241) The next year, OCR released another letter indicating

that transgender students must be allowed to participate in such

activities…consistent with their gender identity.” (JA241) Although the

2016 letter from OCR was technically rescinded by the 2017 letter from

OCR, the 2017 letter never changed the law – it merely said that they

are rescinding the statement pending legal investigation. As the district

court noted, “[a]t a minimum, the letter did not provide clear notice that

allowing transgender students to compete in girls’ track would violate

Title IX.” (JA282) The 2017 guidance was the last letter released prior

to Plaintiffs filing this action. 22 In other words, there was nothing else



 OCR’s Title IX website currently states: “A recipient institution that
22


receives Department funds must operate its education program or
activity in a nondiscriminatory manner free of discrimination based on
sex, including sexual orientation and gender identity. Some key issue
areas in which recipients have Title IX obligations are: recruitment,
admissions, and counseling; financial assistance; athletics; sex-based
harassment, which encompasses sexual assault and other forms of
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that clearly stated that a policy that allows transgender girls to

participate in female athletics violates Title IX, and accordingly the

district court correctly found that there has been no clear and

unambiguous statement made by either Congress or the OCR that if

Defendants enact a policy allowing transgender students to participate

in female athletics, they would be in violation of Title IX. (JA280).

           Plaintiffs argue that the Defendants did not need pre-litigation

notice that their acts violate Title IX because they intentionally enacted

the CIAC policy. Plaintiffs rely on a series of cases concerning an

institutions deliberate indifference to sexual harassment or retaliation

by institutions. Plaintiff cite to Jackson v. Birmingham Bd. of Educ.,

544 U.S. 167, 169 (2005), which held that it is intentional

discrimination in violation of Title IX for a defendant to act in

retaliation against a plaintiff because they complained of sex

discrimination, and, since regulations and case holdings for 30 years

have considered retaliation to a report of sex discrimination, no further




sexual violence; treatment of pregnant and parenting students;
treatment of LGBTQI+ students; discipline; single-sex education; and
employment.”
https://www2.ed.gov/about/offices/list/ocr/docs/tix_dis.html
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notice was necessary. Plaintiffs also rely on the court’s decision in

Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60 (1992), which based

its holding on a sexual harassment claim between a teacher and a

student where the school took no action to address the issue. Likewise,

Plaintiffs rely on the holdings in Gebser and Davis, which are both

claims on deliberate indifference to a student being sexually harassed

by a teacher. Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274

(1998); Davis v. Monroe County Bd. Of Educ., 526 U.S. 629 (1999).

           As the Sixth Circuit noted, however, Gebser, Davis, and Franklin

decisions “are not readily analogous to the present situation” of a case

involving transgender rights in athletics. Horner v. Kentucky High Sch.

Athletic Ass'n., 206 F.3d 685, 693 (6th Cir. 2000). Indeed, the district

court correctly concluded that these cases are “readily distinguishable

from the plaintiffs’ claims of denial of equal treatment and effective

accommodation.” (JA 283).

           Moreover, every Court of Appeals to consider the issue both before

and after this lawsuit was filed has held that Title IX requires schools

to treat transgender students consistent with their gender identity. See

Parents for Privacy v. Barr, 949 F.3d 1210 (9th Cir.), cert. denied, 141

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S.Ct. 894 (2020); Doe by & through Doe v. Boyertown Area Sch. Dist.,

897 F.3d 518 (3d Cir. 2018), cert. denied, 139 S.Ct. 2636 (2019);

Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,

858 F.3d 1034 (7th Cir. 2017); Dodds v. United States Dep’t of Educ.,

845 F.3d 217 (6th Cir. 2016); G.G. ex rel. Grimm v. Gloucester Cty. Sch.

Bd., 822 F.3d 709 (4th Cir. 2016), vacated and remanded, 137 S. Ct.

1239 (2017).

           For all of these reasons, the district court correctly found that

Defendants clearly did not have notice that enacting a policy that

reinforces transgender student rights would be a violation of Title IX.

IV.        ALTERNATIVELY, THE DISTRICT COURT’S ORDER
           DISMISSING THE CASE SHOULD BE UPHELD BECAUSE
           THE CIAC POLICY DOES NOT VIOLATE TITLE IX.

           For all of the reasons set forth in the Intervenor Defendants’ brief,

the district court’s ruling should be affirmed on the alternative basis

that there is no violation of Title IX.

V.         THIS CASE SHOULD NOT BE REASSIGNED IF REMANDED.

           Plaintiffs have asked that the case be reassigned if they are

successful on appeal and the case is remanded. Yet there is no basis for

doing so, and the case should be returned to Judge Chatigny.


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           A.     Legal Standards Governing Reassignment.

           “Reassignment upon remand is a serious request rarely made and

rarely granted.” (Internal quotation marks omitted.) Sulzer Mixpac AG

v. A&N Trading Co., 988 F.3d 174, 184 (2d Cir. 2021). In evaluating

whether such drastic action is called for, this Court generally considers

the following factors:

           (1) whether the original judge would reasonably be expected
           upon remand to have substantial difficulty in putting out of
           his or her mind previously-expressed views or findings
           determined to be erroneous or based on evidence that must be
           rejected, (2) whether reassignment is advisable to preserve
           the appearance of justice, and (3) whether reassignment
           would entail waste and duplication out of proportion to any
           gain in preserving the appearance of fairness.

United States v. Awadallah, 436 F.3d 125, 135 (2d Cir. 2006); Ketcham

v. City of Mount Vernon, 992 F.3d 144, 152 (2d Cir. 2021). This Court

has at times also considered whether the facts and history of the case

are such as “might reasonably cause an objective observer to question

the judge's impartiality.” Ligon v. City of New York, 736 F.3d 118, 128

(2d Cir. 2013), vacated in part on other grounds, 743 F.3d 362 (2d Cir.

2014).

           The Supreme Court has made clear that “judicial rulings alone

almost never constitute a valid basis for a bias or partiality” claim, as
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“in and of themselves (i.e., apart from surrounding comments or

accompanying opinion), they cannot possibly show reliance upon an

extrajudicial source; and can only in the rarest circumstances evidence

the degree of favoritism or antagonism required… when no extrajudicial

source is involved.” Liteky v. United States, 510 U.S. 540, 555 (1994);

see also United States v. Wedd, 993 F.3d 104, 116 (2d Cir. 2021).

Moreover,

           opinions formed by the judge on the basis of… events
           occurring in the course of the current proceedings… do not
           constitute a basis for a bias or partiality motion unless they
           display a deep-seated favoritism or antagonism that would
           make fair judgment impossible. Thus, judicial remarks… that
           are critical or disapproving of… the parties, or their cases,
           ordinarily do not support a bias or partiality challenge.

Liteky, 510 U.S. at 555. Ultimately, “[a] judge's ordinary efforts at

courtroom administration… remain immune” from a claim of bias or

partiality, even if “stern and short-tempered”. Id., at 556.

           Plaintiffs base their request for reassignment squarely on a need

to “preserve the appearance of justice” in relation to conduct they say

would cause an objective observer to question the judge’s impartiality.




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(Pl. Brief p.51) 23 Plaintiffs claim that Judge Chatigny displayed

partiality and prejudgment regarding the merits of the case by

prohibiting Plaintiffs’ counsel from referring to Yearwood and Miller as

“‘males,’ period” when they do not identify as such, and by ruling

against them on an issue of standing. Neither of these events suffice to

show the kind of bias or partiality that warrants reassignment.

           Judge Chatigny’s direction to Plaintiffs’ counsel not to refer to

Yearwood and Miller as “‘males,’ period” out of respect for their gender

identity was precisely the kind of “ordinary effort[] at courtroom

administration” which is generally immune to a charge of bias or

impartiality. Moreover, as Judge Chatigny’s order was in furtherance of

the well-established duty of courtesy owed all participants in the legal

setting, to reassign the case even partly on that basis would impede the

appearance of justice rather than preserve it.

           B.     Judges Must Enforce “Duties of Courtesy”.




23
  Plaintiffs do not argue more than in passing that Judge Chatigny “would
reasonably be expected upon remand to have substantial difficulty in putting out of
his… mind previously-expressed views or findings determined to be erroneous”.
Awadallah, 436 F.3d at 135. (Pls. Brief, p.53) (sole reference). If no error is found
in, this factor will not be implicated. Nor have Plaintiffs addressed the “waste or
duplication of effort” that would ensue if the case were to reassigned. Id.
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           “All persons involved in the judicial process – judges, litigants,

witnesses, and court officers – owe a duty of courtesy to all other

participants.” In re Snyder, 472 U.S. 634, 647 (1985). In ordering

Plaintiffs’ counsel to refer to Yearwood and Miller in a manner

consistent with (or even more minimally, not flatly inconsistent with)

their gender identity, Judge Chatigny was engaged in activity that was

“necessary to completion of [his] task”; Liteky, 255 U.S. at 550; namely,

ensuring that Plaintiffs’ counsel abided by that duty of courtesy.

           The duty of courtesy has been enshrined in legal ethics rules as

part of a broader effort to prevent and eliminate discrimination in legal

proceedings. The American Bar Association Model Rules of Conduct

hold that “it is professional misconduct for a lawyer to… engage in

conduct that the lawyer knows or reasonably should know is

harassment or discrimination on the basis of… gender identity… in

conduct related to the practice of law.” Model Rules of Prof’l Conduct

r.8.4(g) (Am. Bar Ass’n 2018). Such harassment and discrimination

includes “derogatory or demeaning verbal… conduct.” Id. The

Connecticut Rules of Professional Conduct have recently been amended

to include a similar prohibition. 83 Conn. L.J., No. 2, p. 35-36PB (July

                                         52
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13, 2021). The Code of Conduct for U.S. Judges not only requires that

federal judges be “patient, dignified, respectful, and courteous to

litigants”, but that they take steps to “require similar conduct by those

subject to [their] control, including lawyers to the extent consistent with

their role in the adversary process.” Code of Conduct for U.S. Judges,

Canon 3(A)(3) (2019).

           One of the most basic forms of courtesy is to address others

respectfully, and refrain from addressing others in ways that are

disrespectful or demeaning. The United States Supreme Court has long

recognized the importance of respectful address in the judicial process.

In Hamilton v. Alabama, 376 U.S. 650 (1964) (per curiam), the Court

reversed a contempt citation issued against Mary Hamilton, a Black

woman, for insisting that she be referred to as “Miss Hamilton” in a

court proceeding rather than simply as “Mary”. 24 The Court did so with

reference to an earlier decision in in which it made unequivocally clear

that “segregation in a court of justice is a manifest violation of the

[government]'s duty to deny no one the equal protection of its laws.”


24
  The facts of the case may be found in Ex parte Hamilton, 156 So. 2d
926 (Ala. 1963), rev'd sub nom. Hamilton v. Alabama, 376 U.S. 650
(1964).
                                        53
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Johnson v. Virginia, 373 U.S. 61, 62 (1963) (per curiam). This reference

affirms that respectful and proper address in judicial proceedings is

closely tied to the duty of the judiciary to ensure that litigants are

afforded the fundamental protections of our legal system.

           Consistent with Hamilton and Johnson, judges, lawyers, and

other participants in the judicial process refrain from addressing

parties by titles that are “needlessly degrad[ing] and humiliat[ing]”.

Armstead v. United States, 347 F.2d 806, 807–08 (D.D.C. 1965). Courts

have deemed it “an abuse of formal courtroom protocol to address…

participants” in derogatory ways, such “by first names only or

nicknames without courtesy titles.” State v. Bright, 916 P.2d 922, 926

n.23 (Wash. 1996) (admonishing “arrogant depersonalization” of

arrestee through use of “her nickname only” in testimony). See also,

Middleton v. State, 64 N.E.3d 895, 902 (Ind. Ct. App. 2016) (Plye, J.,

concurring) (finding counsel’s use of racially-derogatory language

impeded parties’ rights “to the fair administration of justice”), aff’d, 72

N.E.3d 891 (Ind. 2017).

           In accordance with these principles, judges have consistently

addressed parties with pronouns consistent with their gender identity,

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and have required counsel to do the same. See, e.g., Qz’etax v. Ortiz,

170 Fed. Appx. 551, 553 (10th Cir. 2006) (granting transgender

appellant’s “motion for the continued usage of proper female pronouns”

and affirming that the court would “continue to use them when

referring to her”); United States v. McGrath, 80 Fed. Appx. 207, 208 n.1

(3d Cir. 2003) (noting use of female pronouns out of respect for

transgender litigant); DeGroat v. Townsend, 495 F. Supp. 2d 845, 846

n.3 (S.D. Ohio 2007) (referring to transgender plaintiff using female

pronouns as “a matter of courtesy”); Smith v. Rasmussen, 57 F. Supp.

2d 736, 740 n.2 (N.D. Iowa 1999), rev’d in part on other grounds, 249

F.3d 755 (8th Cir. 2001) (affirming use of proper pronoun in reference to

plaintiff “[a]s a matter of courtesy”, and acknowledging courtesy of

counsel and witnesses as to the same); Lynch v. Lewis, No. 7:14-CV-

0024 (HL), 2014 WL 1813725, *4 n.3 (M.D. Ga. Mar. 24, 2014)

(requiring use of proper pronouns “as a matter of courtesy, and because

it is the Court's practice to refer to litigants in the manner they prefer

to be addressed when possible”); Canada v. Hall, No. 18-CV-2121, 2019

WL 1294660, *1 n.1 (N.D. Ill. Mar. 21, 2019) (admonishing defendants’

counsel for “careless disrespect for the plaintiff’s transgender identity,”

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in part through “consistent use of male pronouns to identify the

plaintiff” when she did not identify as such). 25

           Judge Chatigny was therefore in strong company when he

required that Plaintiffs’ counsel adhere to the use of appropriate

pronouns and other courteous address. 26 Doing so was necessary to

fulfill his responsibility of ensuring compliance with the duty of

courtesy owed not only to Yearwood and Miller, but all participants in

the case. Far from an indication of bias or impartiality, it was well

within Judge Chatigny’s authority to require that appropriate gender

references be used, and the appearance of justice was furthered by the

steps he took.

           C.     Since Intentional and Deliberate Misgendering Has Been
                  Widely Recognized As A Form Of Harassment, A Judge Does
                  Not Display Bias In Preventing Its Occurrence In Judicial
                  Proceedings.




25
  Courts have also begun to more regularly use proper pronouns as a
matter of course, without noting that such use was out of courtesy. See,
e.g., Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020); Edmo v. Corizon,
Inc., 935 F.3d 757 (9th Cir. 2019), cert. denied sub nom. Idaho Dept. of
Correction v. Edmo, 141 S. Ct. 610 (2020).
26
  He is not the only judge to respond to intentional misgendering by
Plaintiffs’ counsel. See Hecox v. Little, 479 F. Supp. 3d 930, 957 n.11
and n.12 (D. Idaho 2020).
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           The Supreme Court has made clear that the terms “bias or

prejudice” have a “pejorative connotation” and therefore that “not all

unfavorable disposition towards an individual (or [their] case) is

properly described by those terms.” (Emphasis in original.) Liteky, 510

U.S. at 550. In order to be pejorative, and thus possible grounds for the

appearance of “bias and prejudice”, the judge’s disposition toward a

party or its case must be “somehow wrongful or inappropriate, either

because it is undeserved or because it rests upon knowledge that the

subject ought not to possess.” (Emphasis in original.) Id. It is therefore a

defense against accusations of bias and prejudice that the judge’s

disposition was appropriate, formed deservedly in response to

reprehensible behavior displayed in the course of court proceedings.

           A judge’s disposition may arise in response to counsel who, in

representing their client’s theory of the case, utilizes repugnant tactics.

See generally, In re J.P. Linahan, Inc., 138 F.2d 650, 654 (2d Cir. 1943)

(judge must “shrewdly observe the strategems of the… lawyers” and

“cannily penetrate through the surface of their remarks to their real

purposes and motives”). Suppose, for example, that a party’s “theory of

the case” was that the use of a racial slur in the workplace was not

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sufficient to create liability for a hostile work environment. 27 It could

not conceivably be evidence of “bias or prejudice” if the judge ordered

the party’s counsel not to refer to other parties or participants in the

case using such racial slurs, informal names rather than formal titles,

or with terms like “boy” or “girl”, even if such an order did hamper

counsel’s ability to articulate their theory of the case or appear to “pre-

judge” the ultimate issue. A judge’s inherent power to prevent bullying,

harassment, and discrimination in the courtroom is not held hostage to

the concern that doing so might somehow hamper, or even appear to

hamper, tactics which are clearly “reprehensible.” Liteky, 510 U.S. at

550.

           Just as referring to members of a certain race with inappropriate

titles or other pejoratives would constitute offensive and discriminatory

conduct to which a judge might be unfavorably disposed without it

constituting improper bias, intentional misgendering has also been




27
  This Court has emphasized, however, that “[p]erhaps
no single act can more quickly alter the conditions of employment and
create an abusive working environment than the use of an
unambiguously racial epithet such as [the n-word] by a supervisor in
the presence of his subordinates.” Rivera v. Rochester Genesee Reg'l
Transp. Auth., 743 F.3d 11, 24 (2d Cir. 2014).
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found to be offensive and discriminatory. Misgendering is both a

psychological and sociological harm. A deep and growing body of

psychological evidence shows that misgendering has a profound impact

on the mental health of those misgendered. Studies indicate that

misgendering is both “stigmatizing” and “associated with psychological

distress.” 28 Medical testimony relied on by courts has indicated that

“misgendering transgender people can be degrading, humiliating,

invalidating, and mentally devastating”. Hampton v. Baldwin, No. 3:18-

CV-550-NJR-RJD, 2018 WL 5830730, *2 (S.D. Ill. Nov. 7, 2018). Courts

have found that this psychological harm is especially strong for

adolescents, and that “for a transgender person with gender dysphoria,

being referred to by the wrong gender pronoun is often incredibly

distressing.” Prescott v. Rady Children’s Hosp.-San Diego, 265 F. Supp.

3d 1090, 1096 (S.D. Cal. 2017). See also, Hecox, 479 F. Supp. at 957

(describing misgendering as “degrading, mean, and potentially mentally

devastating to transgender individuals”).




28
   Kevin A. McLemore, Experiences With Misgendering: Identity
Misclassification of Transgender Spectrum Individuals, 14 SELF &
IDENTITY 51, 60 (2015).
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           Sociologically, there is also a growing body of evidence that

misgendering can promote social stigma toward transgender

populations and reenforce “disturbing patterns of mistreatment and

discrimination” against transgender persons in every dimension of

social life. 29 The widespread societal practice of misgendering, and the

accompanying stigma, also leads to worse physical health outcomes for

transgender individuals. 30

           Finally, there is broad agreement among ethicists and scholars

that intentional misgendering is a form of intentional disrespect which,

when engaged in because of the misgendered party’s group membership

or protected class, constitutes a form of invidious discrimination. Since

“terms of reference and address – pronouns, honorifics, titles, names,

and the like – are ordinary signs of respect”, the intentional




29Sandy E James Et Al., The Report of the 2015 U.S. Transgender Survey
4, NAT’L CTR. FOR TRANSGENDER EQUALITY (2016).
30
  Irene J. Dolan et. al. Misgendering and experiences of stigma in
health care settings for transgender people, 212 THE MEDICAL JOURNAL
OF AUSTRALIA 1 (2020); Kristie L. Seelman, et. al., Transgender
Noninclusive Healthcare and Delaying Care Because of Fear:
Connections to General Health and Mental Health Among Transgender
Adults, 2 TRANSGENDER HEALTH 1 (2017).

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“withholding [of] these terms [is] disrespectful: Doing so says, in effect,

that the person we are referring to or addressing does not deserve the

ordinary respect given to all other citizens.” 31 This analysis affirms the

lived experience of transgender persons like Dr. Julia Serano, who

explains in her memoir that “[c]onsidering how big of a social faux pas it

is in our culture to misgender someone, and how apologetic people

generally become upon finding out that they have made that mistake, it

is difficult to view… the deliberate misgendering of [transgender

persons] as anything other than an arrogant attempt to belittle and

humiliate.” 32

           The discriminatory nature of intentional misgendering has been

affirmed by the EEOC, which has advised that the “[i]ntentional

misuse” of gendered language “may constitute sex-based discrimination

and/or harassment”. Jameson v. Donahoe, EEOC Appeal No.

0120130992, 2013 WL 2368729, *2 (May 21, 2013); Courts have also

rejected the characterization of misgendering as a “perceived slight[]”,



 Chan Tov McNamarah, Misgendering as Misconduct, 68 UCLA L.
31

REV DISCOURSE 40, 49 n.36 (2020).
32
  Julia Serano, WHIPPING GIRL: A TRANSSEXUAL WOMAN ON SEXISM AND
THE SCAPEGOATING OF FEMININITY 185 (2007).
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concluding instead that it is “objectively offensive behavior”. Rumble v.

Fairview Health Servs., No. 14-CV-2037, 2015 WL 1197415, *71 (D.

Minn. Mar. 16, 2015). See also, T.B., Jr. by & through T.B., Sr. v. Prince

George's Cty. Bd. of Ed., 897 F.3d 566, 577 (4th Cir. 2018), cert. denied,

139 S. Ct. 1307 (2019) (describing intentional misgendering as “pure

meanness”). Purposeful misgendering is “not a light matter, but one

which is laden with discriminatory intent”. Doe v. City of New York,

976 N.Y.S.2d 360, 364 (N.Y. Sup. Ct. 2013).

           Given the overwhelming acknowledgment of the reprehensible

nature and harm of misgendering, it was correct for Judge Chatigny’s to

assert that concerns regarding such effects were “consistent with

science”. Since the science and the law supports the conclusion that

misgendering is “needlessly provocative” and “bullying” behavior, it

cannot be bias or prejudice for a judge, tasked with preventing such

bullying and maintaining courtesy in the courtroom, to name it as such.

           D.     Judge Chatigny Did Not Opine On The Ultimate Issue In
                  Requiring Adherence To The Duty of Courtesy.

           As Plaintiffs themselves contend, the case below involved the

proper interpretation of the term “sex” as used in Title IX. (See Pls.’

Mem., ECF No. 103-1 at 6). Plaintiffs are not disputing Yearwood or
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Miller’s female gender identity, and indeed take pains to argue that

“gender identity” is entirely irrelevant to their legal claims. Id. By that

argument alone, Plaintiffs cannot show that a judge’s order directed to

ensuring civility and respect for an opposing party’s gender identity

represents an opinion about the interpretation of “sex” under Title IX.

           But even to the extent that the term “sex” as used in Title IX

accommodates or accounts for gender identity; Parents for Privacy, 949

F.3d at 1227; Plaintiffs’ argument fares no better. A district judge may

issue orders to maintain civility in the courtroom without

demonstrating bias, or an appearance of bias, with respect to the

interpretation of “sex” in a statute such as Title IX. That is because

pronouns and other gender-related terms of address “do not standardly

have content in the same way as ordinary common nouns do…. [R]ather

than characterizing, they [merely] indicate a person or a group.” 33

Nevertheless, as was previously discussed, the correct use of such terms

serves the function of demonstrating courtesy and respect, while the




33
  Sally McConnell-Ginet, What’s in a Name? Social Labeling and
Gender Practices, in THE HANDBOOK OF LANGUAGE AND GENDER 69, 73
(Janet Holmes & Miriam Meyerhoff eds., 2003).

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intentionally-incorrect use of such terms demonstrates the opposite. 34 It

is therefore possible to use gender-related terms for the sole purpose of

adhering to (or flouting) duties and expectations of respectful address

without conveying a legal position.

           Judge Chatigny was careful to make such a distinction when

presenting his order, stating that his object was “maintaining civil

discourse… in the course of the case, nothing more.” (JA107-08) Similar

distinctions between the respectful and courteous use of gender

pronouns and the use of related terms relevant to the merits of a case

may be seen in the opinions of other courts. See, e.g., Lynch, 2014 WL

1813725, at *4 n.3; DeGroat, 495 F. Supp. 2d at 846 n.4; Smith, 57 F.

Supp. 2d at 740 n.2. Such courtesy has been maintained even where

courts have ruled against a transgender plaintiff on the merits of a

claim related to their sex or gender. See, e.g., Etsitty v. Utah Transit

Auth., 502 F.3d 1215 (10th Cir. 2007) (acknowledging plaintiff’s identity

as a woman who is transgender and using female pronouns, but

(erroneously) deciding against her on the merits). Indeed, counsel for

Plaintiffs has received specific instruction – in a case conspicuously


34   McNamarah, Misgendering as Misconduct, at 49 n.36.
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omitted from their brief – on ways in which they may make their Title

IX arguments without relying on “inflammatory and potentially

harmful” conduct like misgendering. Hecox, 479 F. Supp. 3d at 957

n.11; id., at 957 (counsels’ adherence to theory of case “is not

compromised by simply referring to… transgender females as

‘transgender women,’ or by adopting [their] preferred gender

pronouns”).

           Though the use of terms could, in the abstract, confuse an “only

partly informed [person]-in-the-street,” this Court has rejected that as

the measure for judicial impropriety. United States v. Bayless, 201 F.3d

116, 127 (2d Cir. 2000). A “reasonable person knowing and

understanding all the relevant facts;” id.; would have no difficulty

understanding that a judge can order the use of terms associated with

gender identity to be respectful, without pre-judging a matter of

statutory interpretation in the case. Indeed, the distinction between the

“partly informed [person]-in-the-street” and the “reasonable person

[with] know[ledge] and understanding” exists in part so that considered

behavior by judges in response to distinctions like those here do not




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necessarily become grounds for a claim of judicial bias, rendering the

drawing of such important distinctions impossible in court.

           That Judge Chatigny, in limiting misgendering, remained

agnostic on the ultimate issue of the case was all the more clear in light

of the wide latitude given to Plaintiffs. Out of an excess of caution,

Judge Chatigny explicitly did allow Plaintiffs to refer to Yearwood and

Miller as “biologically male,” as having “male bodies,” and as having

gone through “male puberty,” and asked merely that Plaintiffs refrain

from referring to them as “‘males,’ period.” (JA107-08) Plaintiffs had no

apparent difficulty articulating their theory of the case within these

generous semantic constraints, as demonstrated by the very brief in

which they assert that the constraints made argument impossible.

           E.     This Case Lacks The Hallmarks Of “Extra-Judicial”
                  Comments Made In Cases Relied On By Plaintiffs.

           The cases cited by Plaintiffs in support of reassignment all involve

extraordinary extra-judicial features not present here. In Ligon, the

“appearance of partiality stem[med] from [public] comments” made by

the judge concerning “a case yet to be filed.” Ligon 736 F.3d at 127. In

ordering reassignment on remand, the court emphasized that a “judge's

statements to the media may… undermine the judge's appearance of
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impartiality with respect to a pending proceeding” in a way that

remarks in open court do not. Id.

           In Bayless, the possibility of bias arose from the “remarkable…

circumstances of [the] case”, involving extra-judicial remarks by the

President of the United States endorsing a public letter calling Judge

Baer’s earlier rulings in the case “a shocking and egregious example of

judicial activism” at a White House press conference, further remarks

by the President intimating that he would ask for Judge Baer’s

resignation depending on future rulings in the case, and a subsequent

article in the New York Times reporting that “the white house put

[Judge Baer] on public notice today that if he did not reverse a widely

criticized decision… the president might ask for his resignation.”

Bayless 201 F.3d at 123.

           In contrast to the extraordinary circumstances of those cases, the

behavior of Judge Chatigny that Plaintiffs allege constitutes an

“appearance of bias or prejudice” consists only of conduct “necessary to

the completion” of the case. Liteky 510 U.S. at 541. Plaintiffs argue that

Judge Chatigny’s source of apparent bias consisted simply in a series of

“adverse rulings”, involving routine judicial activity such as enforcing

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rules of civility in court, deciding which motions warranted briefing and

arguments, and granting routine courtroom orders.

           As the frequency of such rulings in the normal course of cases

indicates, Judge Chatigny’s order prohibiting counsel from engaging in

misgendering was not rare or anomalous in such a way as might call

into question his impartiality. Such orders are well within the common

practice of federal judges exercising their professional discretion and

fulfilling their duty to ensure lawyers avoid misconduct by

“discriminate[ing]… on the basis of gender identity… in conduct related

to the practice of law.” Model Rules of Prof’l Conduct r.8.4(g) (Am. Bar

Ass’N 2018).

           Nor were Judge Chatigny’s comments “easily avoidable”, as media

comments would have been. Ligon, 736 F.3d at 127. When issuing

rulings and engaging in proper courtroom administration, Judge

Chatigny was forced to make a judgment on the question whether or not

misgendering would violate of the duty of courtesy. Unlike a voluntary

comment at a media appearance, his judgment was necessary, and not

easily avoidable under the circumstances. For a judge tasked with

upholding courtesy in the courtroom to remain silent in the face of

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misgendering would not be an agnostic position, but would in fact be a

judgment that the attorney’s conduct was not discourteous.

           If Plaintiffs were correct that the proper pronoun requirement

constituted some sort of partiality toward a party, then the opposite

would also be true: allowing counsel’s use of opposite-gendered

pronouns would have constituted bias or partiality toward Plaintiffs,

indicating there was nothing discriminatory or discourteous about

misgendering parties. In such a case it would have been impossible for

Judge Chatigny to remain neutral under Plaintiffs stance, since, when

faced with an obligation to decide how to maintain an atmosphere of

courtesy and respect in the courtroom, any action taken by him would

have constituted an appearance of bias or prejudice against the

disfavored party.

           This point is equally true for Judge Chatigny’s ruling that harms

alleged by Plaintiffs – specifically, the alleged impact to employment

prospects of not having a particular high school championship victory –

were too speculative. Whether or not one agrees with Judge Chatigny’s

observation concerning the possibility that such high school sports

records “might well have no bearing” on employment prospects years

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later, the ruling itself cannot, as Plaintiffs allege, constitute bias

against them. Rulings cannot constitute a recusable appearance of bias

against a party merely in virtue of the fact that the ruling is contrary

that party’s own preferred view of the case. A contrary interpretation of

the cases on this point is a result that courts have been clear should be

avoided. Liteky, 510 U.S. at 555.

                                   CONCLUSION

           Wherefore, for all those reasons set forth here, the District Court

did not err in dismissing the Amended Complaint. Therefore, the

District Courts’ ruling must be affirmed.




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reassignment.
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                    CERTIFICATION OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(c), undersigned counsel
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Fed. R. App. P. 32(a)(7)(B) and Local R. App. P. 32-1(a)(4) because it
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